Case 2:18-cv-02947-DSF-MAA Document 28 Filed 04/22/21 Page 1 of 2 Page ID #:1316



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   8                        UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
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  11    FRANCISCO ALEXANDER                       Case No. 2:18-cv-02947-DSF-MAA
  12    SANCHEZ, JR.,
                                                  ORDER ACCEPTING FINDINGS
  13                       Petitioner,            AND RECOMMENDATIONS OF
              v.                                  UNITED STATES MAGISTRATE
  14                                              JUDGE

  15    GIGI MATTESON, Acting Warden,

  16                       Respondent.
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  19         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition, the other
  20   records on file herein, and the Report and Recommendation (“Report”) of the
  21   United States Magistrate Judge.
  22         Further, the Court has engaged in a de novo review of those portions of the
  23   Report to which Objections have been made. Petitioner’s Objections are identical
  24   to the arguments he previously raised in the Traverse. (Compare ECF No. 19 at 6-
  25   41 [Traverse]; with ECF No. 27 at 6-41 [Objections]). The Report addressed the
  26   arguments that Petitioner raised in the Traverse, to the extent that such arguments
  27   were properly raised. The Objections fail to raise new arguments that have not
  28   been considered.
Case 2:18-cv-02947-DSF-MAA Document 28 Filed 04/22/21 Page 2 of 2 Page ID #:1317



   1         IT IS THEREFORE ORDERED that (1) the Report and Recommendation of
   2   the Magistrate Judge is accepted and adopted; (2) Petitioner’s request for an
   3   evidentiary hearing is denied; and (3) Judgment shall be entered denying the
   4   Petition and dismissing this action with prejudice.
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   6         IT IS SO ORDERED.
   7    DATED: April 22, 2021
   8                                          Honorable Dale S. Fischer
                                              UNITED STATES DISTRICT JUDGE
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